
The People of the State of New York, Respondent, 
againstDamon Shelley, Defendant-Appellant.



Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Robert H. Straus, J.H.O. at plea; Joanne D. Quinones, J. at sentencing), rendered February 9, 2012, convicting him, upon a plea of guilty, of aggravated unlicensed operation of a motor vehicle in the second degree, and imposing sentence.




Per Curiam.
Judgment of conviction (Robert H. Straus, J.H.O. at plea; Joanne D. Quinones, J. at sentencing), rendered February 9, 2012, reversed, on the law, and matter remanded for further proceedings on the accusatory instrument.
Initially, we need not address the issue of whether defendant's challenge to his plea has been preserved, as we consider this claim pursuant to our interest of justice jurisdiction (CPL 470.15[3][c]).
The record fails to support the conclusion that defendant's guilty plea was knowing, intelligent and voluntary. The court did not address defendant during the plea proceeding and defendant did not speak; nor was defendant advised of any constitutional rights he was waiving (see People v Moore, 24 NY3d 1030 [2014]; People v Tyrell, 22 NY3d 359, 365-366 [2013] ["[p]resuming waiver from a silent record is impermissible"]). Nor are there sufficient circumstances reflecting defendant's consultation with counsel (see People v Conceicao, 26 NY3d 375, 380 [2015]). However, we decline to dismiss the accusatory instrument, since it cannot be said that no penological purpose would be served by reinstating the proceedings (see id. at 385 n; People v Teron, 135 AD3d 586 [2016]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur 
Decision Date: March 24, 2016










